98 F.3d 1335
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Julian Edward ROCHESTER, Plaintiff--Appellant,v.STATE of South Carolina;  J. Arthur Robinson;  K. Green;  R.Divine, Mr., of the Education Department;  M. Dease;  J.Byrd;  A. Joyner, Mr.;  M. Devaughn, Ms.;  W. Ratliff, Mr.;R. Pratt, Mr.;  W.L. Eagleton, Associate Warden;  William R.Davis, Warden;  R. Drake, Mr.;  Mr. Dawkins;  South CarolinaDepartment of Corrections, Defendants--Appellees.
    No. 96-6093.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 20, 1996.Decided Oct. 3, 1996.
    
      Julian Edward Rochester, Appellant Pro Se.  David Leon Morrison, John Thomas Lay, Jr., ELLIS, LAWHORNE, DAVIDSON &amp; SIMS, P.A., Columbia, South Carolina;  Merl Floyd Code, Sr., CODE, WESTON &amp; MOSLEY, Greenville, South Carolina, for Appellees.
      Before NIEMEYER, HAMILTON, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Rochester v. South Carolina, No. CA-93-3344-2-21AJ (D.S.C. Dec. 28, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    